
ORDER
WRIT GRANTED IN PART; DENIED IN PART.
IT IS ORDERED that the portion of the court of appeal opinion reversing the the denial of a preliminary injunction in favor of plaintiff be reversed and the judgment of the trial court denying the preliminary injunction be hereby reinstated. An appeal from an order or judgment relating to a preliminary injunction must be taken within fifteen days from the date of the order or judgment. LSA-C.C.P. art. 3612(C).
IT IS FURTHER ORDERED that the remainder of the writ be denied.
/s/ John L. Weimer Justice, Supreme Court of Louisiana
CALOGERO, C.J., concurs with reasons.
